                                      UNPUBLISHED

                                                         FILED: November 1, 2024


                       UNITED STATES COURT OF APPEALS
                           FOR THE FOURTH CIRCUIT


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                                       No. 22-4489
                                 (3:19-cr-00130-MHL-1)
                                 ___________________

UNITED STATES OF AMERICA

               Plaintiff - Appellee

v.

OKELLO T. CHATRIE

               Defendant - Appellant

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THE REPORTERS COMMITTEE FOR FREEDOM OF THE PRESS;
AMERICAN CIVIL LIBERTIES UNION; AMERICAN CIVIL LIBERTIES
UNION OF VIRGINIA; EIGHT FEDERAL PUBLIC DEFENDER OFFICES
WITHIN THE FOURTH CIRCUIT; TECHNOLOGY LAW AND POLICY
CLINIC AT NEW YORK UNIVERSITY SCHOOL OF LAW; ELECTRONIC
FRONTIER FOUNDATION

               Amici Supporting Appellant

PROJECT FOR PRIVACY AND SURVEILLANCE ACCOUNTABILITY, INC.

               Amicus Supporting Rehearing Petition
                               ___________________

                                    ORDER
                               ___________________

      A majority of judges in regular active service and not disqualified having

voted in a requested poll of the court to grant the petition for rehearing en banc,

      IT IS ORDERED that rehearing en banc is granted. The parties shall file 16

additional paper copies of their briefs and appendices previously filed in this case

within 10 days. The case shall be scheduled at the next available session.

                                        For the Court

                                        /s/ Nwamaka Anowi, Clerk
